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                                        MINUTES



  CASE NUMBER:             CV 18-00477LEK-RT
  CASE NAME:               A.B., et al. vs. Hawaii State Department of Education, et al.
  ATTYS FOR PLA:           Mateo Caballero
                           Kim Turner (by phone)
  ATTYS FOR DEFT:          John M. Cregor Jr.
                           Lyle S. Hosoda
                           Lauren Nakamura
  INTERPRETER:


        JUDGE:       Rom Trader                     REPORTER:         No Record

        DATE:        05/14/2019                     TIME:             9:08 - 9:28


 COURT ACTION: EP: Status Conference -

 Discussion held re: the motion for class certification currently set for 7/5/19 before Judge
 Kobayashi and discovery matters.

 Plaintiffs’ counsel informed the Court they are planning to file a motion to amend complaint
 to add an additional plaintiff.

 Given the defendants’ concerns, and comments by plaintiffs, it is clear that the 7/5/19
 hearing date is probably not workable.

 A Status Conference is currently set for 6/19/19, and the Court will try to assist the parties
 with discovery issues.

 Court will confer with Judge Kobayashi and inform her that it is anticipated that a motion
 to amend will be filed, it will be scheduled as quickly as possible, and that the discovery
 issues need to be resolved. This Court will recommend to Judge Kobayashi that the
 hearing on the motion for class certification be continued.

 Ms. Turner requests that if the motion for class certification is continued, deadlines be
 continued as well. To the extent a continuance has an impact on those deadlines, parties
 may request the Court to address those deadlines.

 Submitted by: Toni Fujinaga, Courtroom Manager.
